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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO,                        §
 et al.,                                            §
                                                    §
                       Plaintiffs,                  §
                                                    §
 v.                                                 § Civil Action No. 5:21-CV-0844-XR
                                                    § (Consolidated Cases)
 STATE OF TEXAS, et al.,                            §
                                                    §
                       Defendants.                  §
                                                    §

        LUPE PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                     TO DEFENDANT KENNETH PAXTON

       Pursuant to Federal Rules of Civil Procedure 26 and 34, Plaintiffs La Unión Del Pueblo

Entero (“LUPE”), Friendship-West Baptist Church (“FRIENDSHIP-WEST”), the Anti-

Defamation League Austin, Southwest, and Texoma Regions (“ADL”), Southwest Voter

Registration Education Project (“SVREP”), Texas Impact, Mexican American Bar Association of

Texas (“MABA-TX”), Texas Hispanics Organized for Political Education (“TEXAS HOPE”), Jolt

Action, William C. Velasquez Institute (“WCVI”), FIEL Houston Inc. (“FIEL”), and James Lewin

(collectively, “LUPE Plaintiffs”) serve this Second Set of Requests for Production upon Defendant

Kenneth Paxton, in his official capacity as the Texas Attorney General.

       Responses to these Requests are to be produced to Megan Cloud within 30 days of receipt.

To arrange for electronic production, please contact Megan Cloud at megan.cloud@weil.com.

Anything that cannot be produced electronically should be produced to Megan Cloud at Weil,

Gotshal & Manges LLP, 200 Crescent Court, Suite 300, Dallas, Texas 75201.

       Each Request for Production is subject to the Definitions and Instructions listed below.

                                        DEFINITIONS

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         Except as specifically defined below, the terms used in this request shall be construed and

defined in accordance with the Federal Rules of Civil Procedure and the Local Rules of the U.S.

District Court for the Western District of Texas, wherever applicable. Any terms not defined shall

be given their ordinary meaning.

         1.      “Any” or “all” mean “any and all.”

         2.      “Communication” is synonymous in meaning and scope to the term

“communication” as used in Local Rule 26, and includes any transfer of information of any type,

whether written, oral, electronic, or otherwise, and includes transfers of information via email;

report, letter, text message, voicemail message, written memorandum, note, summary, and other

means.

         3.      “Curbside voting” means the method of voting available to voters under Tex. Elec.

Code § 64.009(a).

         4.      “Date” means the exact day, month, and year, if ascertainable, or, if not, the best

available approximation (including relationship to other events).

         5.      “Document” is synonymous in meaning and scope to the term “document” as used

in Federal Rule of Civil Procedure 34 and Local Rule 26 and includes, but is not limited to, records,

reports, lists, data, statistics, summaries, analyses, communications (as defined above), computer

discs, tapes, printouts, emails, databases, and any handwritten, typewritten, printed, electronically

recorded, taped, graphic, machine-readable, or other material, of whatever nature and in whatever

form, including all non-identical copies and drafts thereof, and all copies bearing any notation or

mark not found on the original.

         6.      “Early voting” means any method of voting that occurs prior to the uniform

election date for a primary or general election.

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          7.     “Extended hour voting” means any method of voting in which a voter casts a

ballot at a polling place between the hours of 7:00 p.m. and 7:00 a.m.

          8.     “Election clerk” means any individual appointed by the presiding judge of an

election precinct to assist the judge in the conduct of an election at the polling place for a

primary or general election pursuant to Tex. Elec. Code § 32.031 et seq.

          9.     “Election judge” means any individual appointed as a presiding judge or an

alternate presiding judge for a primary or general election pursuant to Tex. Elec. Code § 32.001

et seq.

          10.    “Including” means including, but not limited to.

          11.    “Person” means not only natural persons, but also firms, partnerships, associations,

corporations, subsidiaries, divisions, departments, joint ventures, proprietorships, syndicates, trust

groups, and organizations; federal, state, and local governments or government agencies, offices,

bureaus, departments, or entities; other legal, business, or government entities; and all subsidiaries,

affiliates, divisions, departments, branches, and other units thereof or any combination thereof.

          12.    “Poll watcher” means any individual appointed to observe the conduct of an

election on behalf of a candidate, a political party, or the proponents or opponents of a measure

for a primary or general election pursuant to Tex. Elec. Code § 33.001 et seq. 22.

          13.    “SB 1” means the legislation designated as Senate Bill 1, titled “Relating to

election integrity and security, including by preventing fraud in the conduct of elections in this

state; increasing criminal penalties; creating criminal offenses,” that was introduced during the

87th First Called Session of the Texas Legislature and introduced and enacted during the 87th

Second Called Session of the Texas Legislature and signed by the Governor of Texas on September

7, 2021.


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       14.      “Texas county” means any employee of a political subdivision of the State of

Texas, in the employee’s official capacity, who is responsible for conducting, operating,

facilitating, or supervising the electoral process or enforcing any provision of the Texas Election

Code. This term includes but is not limited to members of a county’s Commissioners Court,

County Judges, County Election Administrators, County Tax Assessor-Collectors, County Clerks,

or the employees of any of the above-listed offices whose responsibilities relate to that office’s

capacity facilitating the electoral process, as well as members of Signature Verification

Committees and Early Voting Ballot Boards.

       15.      “Vote-by-mail” means any method of voting in which a voter casts a ballot

received in the mail.

       16.      “Voter assistance” means any conduct permitted under Section 64.0321 of the

Texas Election Code or required by Sections 203 and 208 of the Voting Rights Act, 52 U.S.C. §§

10503, 10508.

       17.      “You” and “your” means Texas Attorney General Kenneth Paxton, and his office,

including its employees, staff, agents, and representatives.

                                        INSTRUCTIONS

       1.       You shall produce materials and serve responses and any objections within 30 days

after service of these Requests for Production.

       2.       If you object to any part of a request, set forth the basis of your objection and

respond to all parts of the request to which you do not object. Any ground not stated in a timely

objection is waived.

       3.       If, in responding to these Requests for Production, you encounter any ambiguities

when construing a request or definition, set forth the matter deemed ambiguous and the



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construction used in responding.

       4.        Regarding any document withheld from production on a claim of privilege or work

product protection, provide a written privilege log identifying each document individually and

containing all information required by Federal Rule of Civil Procedure 26(b)(5), including a

description of the basis of the claimed privilege and all information necessary for Plaintiff to assess

the claim of privilege.

       5.        Produce all documents available to you or subject to your access or control that are

responsive to the following document production topics. This includes documents in your actual

or constructive possession or control and in the actual or constructive possession or control of your

attorneys, investigators, experts, and anyone else acting on your behalf.

       6.        Documents are to be produced as they are kept in the ordinary course of business.

Accordingly, documents should be produced in their entirety, without abbreviation, redaction, or

expurgation; file folders with tabs or labels identifying documents responsive to this subpoena

should be produced intact with the documents; and documents attached to each other should not

be separated. All documents are to be produced in electronic form. All documents including

emails, should be produced in single page TIFF format, showing comments and track changes

where applicable, with text extract and load files containing standard fielded information and

metadata. TIFF images shall be placed in an Images folder with any given subfolder not to exceed

5,000 images per folder and accompanied by an .opt placed in a Data folder. Each page of a

document should be assigned a unique production number (aka Bates number) electronically

“burned” onto the image at allocation that does not unreasonably conceal or interfere with

information on the document. The number should be consistent across the production, contain no

special characters, and be numerically sequential within a given document. Attachments to



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documents should be assigned numbers that directly follow in sequential order the Bates numbers

on the documents to which they were attached. If a number or set of numbers is skipped, the

skipped number or set of numbers should be noted, for example with a placeholder.

       7.        Each request and subparagraph thereof are to be answered separately. To the extent

that you do not have any documents reflecting the information requested herein, and/or any means

of recording the information requested herein, please so indicate in your response to the specific

production request.

       8.        Each document produced should be categorized by the number of the document

request in response to which it is produced.

       9.        If any otherwise responsive document was, but is no longer, in existence or in your

possession, custody, or control, identify the type of information contained in the document, its

current or last known custodian, the location/address of such document, and the identity of all

persons having knowledge or who had knowledge of the document, and also describe in full the

circumstances surrounding its disposition from your possession or control.

       10.       These Requests are continuing in nature, up to and including the course of trial.

Pursuant to Federal Rule of Civil Procedure 26(e), you are under a duty to promptly amend your

responses to these Requests if you learn that an answer is in some material respect incomplete or

incorrect. If you expect to obtain further information or expect the accuracy of a response given

to change between the time responses are served and the time of trial, you are requested to state

this fact in each response.

       11.       If you contend that it would be unreasonably burdensome to obtain and provide all

of the documents called for in response to any document request or any subsection thereof, then in

response to the appropriate document request: (a) produce all such documents as are available to



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you without undertaking what you contend to be an unreasonable request; (b) describe with

particularity the efforts made by you or on your behalf to produce such documents; and (c) state

with particularity the grounds upon which you contend that additional efforts to produce such

documents would be unreasonable.

       12.      The singular form of a noun or pronoun includes the plural form, and the plural

form includes the singular.

       13.      The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of a document production topic all responses

that otherwise might be construed to be outside its scope.

       14.      A reference to an entity in this request shall be construed to include its officers,

directors, partners, members, managers, employees, representatives, agents, consultants, and

anyone acting on its behalf.

       15.      The document production topics apply to the November 8, 2022 General Election

or any election thereafter in Texas occurring prior to trial in this matter, unless otherwise limited

or expanded by a particular topic description.




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                               REQUESTS FOR PRODUCTION

       REQUEST FOR PRODUCTION NO. 25: All documents, including but not limited to

communications, related to the voting practices in Dallas County that were modified by SB 1,

including but not limited to, curbside voting, early voting, election clerks, election judges, poll

watchers, poll workers, voter assistance, and vote-by-mail.

       REQUEST FOR PRODUCTION NO. 26: All documents, including but not limited to

communications, related to voter turnout in Dallas County.

       REQUEST FOR PRODUCTION NO. 27: All documents, including but not limited to

communications, related to actual, suspected or alleged election fraud, illegal voting, and other

criminal conduct related to the 2022 General Election in Dallas County.

       REQUEST FOR PRODUCTION NO. 28: All documents, including but not limited to

communications, related to the voting practices in El Paso County that were modified by SB 1,

including but not limited to, curbside voting, early voting, election clerks, election judges, poll

watchers, poll workers, voter assistance, and vote-by-mail.

       REQUEST FOR PRODUCTION NO. 29: All documents, including but not limited to

communications, related to voter turnout in El Paso County.

       REQUEST FOR PRODUCTION NO. 30: All documents, including but not limited to

communications, related to actual, suspected or alleged election fraud, illegal voting, and other

criminal conduct related to the 2022 General Election in El Paso County.

       REQUEST FOR PRODUCTION NO. 31: All documents, including but not limited to

communications, related to the voting practices in Hidalgo County that were modified by SB 1,

including but not limited to, curbside voting, early voting, election clerks, election judges, poll

watchers, poll workers, voter assistance, and vote-by-mail.



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       REQUEST FOR PRODUCTION NO. 32: All documents, including but not limited to

communications, related to voter turnout in Hidalgo County.

       REQUEST FOR PRODUCTION NO. 33: All documents, including but not limited to

communications, related to actual, suspected or alleged election fraud, illegal voting, and other

criminal conduct related to the 2022 General Election in Hidalgo County.

       REQUEST FOR PRODUCTION NO. 34: All documents, including but not limited to

communications, related to the voting practices in Travis County that were modified by SB 1,

including but not limited to, curbside voting, early voting, election clerks, election judges, poll

watchers, poll workers, voter assistance, and vote-by-mail.

       REQUEST FOR PRODUCTION NO. 35: All documents, including but not limited to

communications, related to voter turnout in Travis County.

       REQUEST FOR PRODUCTION NO. 36: All documents, including but not limited to

communications, related to actual, suspected or alleged election fraud, illegal voting, and other

criminal conduct related to the 2022 General Election in Travis County.

       REQUEST FOR PRODUCTION NO. 37: All documents, including but not limited to

communications, between or among you, any Texas county, and/or the Office of the Texas

Secretary of State related to criminal conduct that has or may have occurred in connection with

the 2022 General Election, including, without limitation, documents regarding individuals who are

not eligible to vote and who registered to vote or voted.

       REQUEST FOR PRODUCTION NO. 38: All documents, including but not limited to

communications, related to the Texas Secretary of State’s determination that possible criminal

conduct in connection with the 2022 General Election occurred.

       REQUEST FOR PRODUCTION NO. 39: All documents, including but not limited to



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communications, between or among you, any Texas county, and/or the Office of the Texas

Secretary of State regarding non-compliance with Sections 15.083, 16.032, and 18.061 of the

Texas Election Code and/or with rules implementing the statewide computerized voter registration

list.




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Dated: February 15, 2023
                                              /s/ Sean Morales-Doyle
/s/ Nina Perales                              Sean Morales-Doyle
Nina Perales                                  Jasleen K. Singh*
Julia R. Longoria                             Patrick A. Berry*
Fátima L. Menéndez                            Robyn N. Sanders*
MEXICAN AMERICAN LEGAL DEFENSE AND            Eliza Sweren-Becker*
EDUCATIONAL FUND                              Andrew B. Garber*
110 Broadway, Suite 300                       BRENNAN CENTER FOR JUSTICE AT
San Antonio, TX 78205                         NYU SCHOOL OF LAW
Telephone: (210) 224-5476                     120 Broadway, Suite 1750
Facsimile: (210 224-5382                      New York, NY 10271
nperales@maldef.org                           Telephone: (646) 292-8310
jlongoria@maldef.org                          Facsimile: (212) 463-7308
fmenendez@maldef.org                          sean.morales-doyle@nyu.edu
                                              jasleen.singh@nyu.edu
Michael C. Keats*                             patrick.berry@nyu.edu
Rebecca L. Martin*                            sandersr@brennan.law.nyu.edu
Jason S. Kanterman*                           eliza.sweren-becker@nyu.edu
Kevin Zhen*                                   andrew.garber@nyu.edu
FRIED, FRANK, HARRIS, SHRIVER & JACOBSON
LLP                                           * Admitted pro hac vice
One New York Plaza
New York, New York 10004                      Paul R. Genender
Telephone: (212) 859-8000                     Texas State Bar No. 00790758
Facsimile: (212) 859-4000                     Elizabeth Y. Ryan
michael.keats@friedfrank.com                  Texas State Bar No. 24067758
rebecca.martin@friedfrank.com                 Megan Cloud
jason.kanterman@friedfrank.com                Texas State Bar No. 24116207
kevin.zhen@friedfrank.com                     WEIL, GOTSHAL & MANGES LLP
* Admitted pro hac vice                       200 Crescent Court, Suite 300
                                              Dallas, Texas 75201
Attorneys for Plaintiffs:                     Telephone: (214) 746-8158
LA UNIÓN DEL PUEBLO ENTERO                    Facsimile: (214)746-7777
SOUTHWEST VOTER REGISTRATION                  Liz.Ryan@weil.com
EDUCATION PROJECT                             Paul.Genender@weil.com
MEXICAN AMERICAN BAR                          Megan.Cloud@weil.com
ASSOCIATION OF TEXAS
TEXAS HISPANICS ORGANIZED FOR                 Attorneys for Plaintiffs:
POLITICAL EDUCATION                           FRIENDSHIP-WEST BAPTIST
JOLT ACTION                                   CHURCH
WILLIAM C. VELASQUEZ INSTITUTE                ANTI-DEFAMATION LEAGUE
FIEL HOUSTON INC                              AUSTIN, SOUTHWEST, AND
                                              TEXOMA REGIONS
                                              TEXAS IMPACT
                                              JAMES LEWIN

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                                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 15, 2023, I electronically served the foregoing document

via electronic mail on all counsel of record.

                                                 /s/ Julia R. Longoria
                                                Julia Longoria




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